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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE



KURT BENSHOOF

              Petitioner                                  Case No. C24- 1110-JNW-SKV

V.

WARDEN

             Respondent



                            RESPONSE TO ORDER TO SHOW CAUSE

                    WHY WRIT OF HABEAS CORPUS MUST BE GRANTED

                                 Pro Se Appellant Kurt Benshoof
                                     CURRENTLY HELD AT:
                           King County Correctional Facility - Seattle
                              B/A 2024-008067, UCN# 10518097,
                                    South Eight, Lover Bravo,
                                500 Fifth Ave., Seattle, WA 98104


                                JURISDICTIONAL STATEMENT

A) Pursuant to 28 U.S.C. § 1331 this Court has jurisdiction and is required to adjudicate
federal questions involving constitutional violations of Petitioner’s rights.
B) A district court has federal-question jurisdiction when an action arises under the
Constitution, laws, or treaties of the United States. U.S. Const. art. 3, § 2; 28 U.S.C.A. § 1331;1

C) A federal court can enjoin proceedings that are pending in a state court when 42 U.S.C.
1983 is involved, since this law falls within the expressly authorized exception of the Anti-



1 Gunn v. Minton, 568 U.S. 251, 257 (2013); Empire Healthchoice Assur.. Inc. v. McVeigh , 547
U.S. 677, 689-90 (2006); Exxon Mobil Corp. v. Allapattah Sems., 545 U.S. 546, 552 (2005); see
Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986); Heckler u Ringer, 466 U.S.
602, 614-15 (1984); see also Grable & Sons Metal Prods. v. Darue Eng 'g & Wg., 545 U.S. 308,
312 (2005) (federal jurisdiction may be appropriate over certain state-law claims that
implicate significant federal issues). Mitchum u Foster, 407 U.S. 225 (1972); Ex parte Young,
209 u.s. 123 C1908)
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   Injunction Statute (28 U.S.C. Section 2283). Mitchum v. Foster, 407 U.S. 225 (1972); Ex parte
   Young, 209 U.S. 123 (1908).

   D) Pursuant to 42 USC §1983; §1985; §1986 this Court has jurisdiction.
   E) Pursuant to 28 U.S.C. § 1343 (b) (2) this Court has jurisdiction for violation of Petitioner’s
   civil rights.

   F) Pursuant to 28 U.S. Code § 1367 this Court has Supplemental jurisdiction over state law
   claims.

   G) Pursuant to 28 U.S.C. § 1391 (b) (1) venue is proper in the Western District of Washington-

   Seattle because all claims arise out of King’s County, Washington.
   H) U.S.C.A. Const. Art. IV § 2, cl. 1 - Privileges and Immunities

   I) Pursuant to U.S.C. § 1651 this Court has original jurisdiction
   D Pursuant to U.S.C. § 2283 this Court has jurisdiction to enjoin proceedings in State Court
   pursuant to the express authorization of Congress, under 42 U.S.C. 1983.
   K) Pursuant to U.S.C. § 2283 this Court has jurisdiction to enjoin proceedings in State Court
   to protect or effectuate its judgment in Hamm u City of Rockhill, 379 U.S. 306 (1964).
   L) Pursuant to Fed.R.Civ.P. 65 the Court has jurisdiction to grant injunctive relief.
   M) The state-law claims necessarily raise a significant federal issue, actually disputed and
   substantial, such that the case warrants federal question jurisdiction (Grable & Sons Metal
   Prods., Inc. u Darue Eng'g & IVIfg., 545 U.S. 308, 312-14 (2005]).
   N) Pursuant to Wash. Rev. Code §7.36,
   O) Pursuant to Wash. Const. Art. I §13

   P) Pursuant to US Const. Art. I, Sec. 9 Cl. 2,



                          WRIT OF HABEAS CORPUS MUST BE GRANTED

   Kurt Benshoof ("Petitioner"), applying for a writ of habeas corpus from this Honorable Court,
   and asking that it be issued without delay, as contemplated by Wash. Rev. Code $7.36, and
   per the concurrent guarantees of Wash. Const. Art. I $13, and of US Const. Art. I, Sec. 9 Cl. 2
   stating in support:

1. Petitioner is currently being restrained in his liberty: he has been incarcerated without
   cause



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2. Our laws require that there must be a preliminary hearing to determine probable cause to

3. bind over a suspect to a particular court as an accused, regarding a particular crime, before
   this kind of restraint. Gerstein n Pugh, 420 U.S. 103, 95 S. Ct. 854 (1975)

4. No magistrate or judicial officer held or purported to hold a probable cause determination
   hearing, as is absolutely and unambiguously required prior to restraint of Petitioner's
   liberty.

5. Various public officials, including Hon. Nicholas Straley (’'Straley"), appear to have a vendetta
   or personal agenda to retaliate against Petitioner for having been a whistleblower
   previously.

6. Straley evidently has an extreme bias against Petitioner and conflict of interest.

7. Our constitutions guarantee that nobody will be deprived of their rights absent due process.

8. Straley appears to have intentionally circumvented due process to unduly harm Petitioner.

9. Applicant respectfully demands speedy relief and release from restraint of protected liberty.

10. According to RCW §7.36, a petition that "must be granted" specifies the following.



   BY WHOM LIBERTY IS RESTRAINED, AND WHERE

11. Sheriff Patricia Cole-Tindall ("Cole-Tindall") is physically confining Petitioner, without
   cause, in a King County, Washington jail.

   CAUSE OR PRETENSE

12. There is no lawful cause. Evidently there is nothing more than pretense and ugly prejudice.

13. According to the best of my knowledge and belief, Cole-Tindall would presume (or maintain
   a naked pretense of presuming) that due process has been followed, namely, that:

              1. there had already been a hearing and judicial determination finding probable
                 cause, and

              2. there has already been a bail-setting hearing and judicial determination, and
              3. Petitioner is, for some good cause shown, not entitled to constitutional bail, and
              4. Petitioner has no ownership interest in any property within the county that could
                 be put up as collateral, and


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           5. cash bonds demanded were legitimate and not unconstitutionally           ’'excessive",
                even if in an amount exceeding double the value of the judge’s home, and even if
                the alleged crime is actually no crime, nothing more than a rumor of non-violent
                wrongdoing, and
           6.   incarceration is the least-restrictive bail option that would secure Petitioner’s
                court attendance and protect society from some yet-to-be-expressed danger by
                Petitioner, and
           7.   there has already been a magisterial/judicial order, accordingly, notifying the
                appropriate court of probable cause and denial of bail, and
          8.    as a result of this order, and based on admissible evidence that would have to have

                been gathered during a probable cause hearing, a district attorney or other
                individual authorized by law to represent the state had brought lawfully-sufficient
                primary pleadings for at least one criminal cause of action before the court, thus
                vesting it with jurisdiction, and thereby commencing at least one criminal court
                case to await the court's adjudication, and
          9.    a judicial order of commitment exists to hold Petitioner in custody until such
                proceedings can be held, as speedily as possible.

14. According to the best of my knowledge and belief, there is no evidence to support any of
   those false presumption$ and the only criminal case, if any exists, arises from the "fruit of
   the poisoned tree"; patently-inadmissible evidence obtained by forcible entry and an
   exhaustive fishing expedition carried out by those who used unnecessary violence and
   excessive force to execute a defective search warrant that was unconstitutionally issued,
   being unsupported by any statements of fact, which, if true, would enable a magistrate or
   judge to "find" probable cause, and being devoid of particularity as to what to search for
   and where to search for it.

15. In other words, Straley's retaliatory simulation of due process can be the "cause or pretense".

   DETAILS OF THE ALLEGED ILLEGALITY OF CHALLENGED coNDUcr

16. On the contrary, there evidently has been no assertion of ultimate facts in support of the
   essential elements for a probable cause determination by a magistrate or judge, let alone any
   hearing or "finding" of such facts and identification of any specific offense, of a criminal
   nature or any other,

           1. no bail-settinghearing,
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       2.   no consideration of Petitioner's constitutionally-protected right to bail,
       3.   no consideration of the least-restrictive bail options that would be effective to
            secure court attendance,
       4. no thought given to the reasonableness of the cash bond demanded, and

       5.   no assertion of ultimate facts that, if true, could lead to a finding of Petitioner
            being either (a) a flight risk, or (b) a danger to society, and
       6. no magisterial or judicial order finding probable cause and denying bail, and

       7.   no district attorney or grand jury has drawn up an information or indictment,
            which would have been based on the sworn complaints and other admissible
            evidence that would have been presented, and
       8.   no magisterial or judicial order of commitment.

17. For any one of these, and certainly for all of these, it is plain for all to see that due process
   has been abrogated and the restraint of Petitioner's liberty is unlawful.

18. Straley evidently issued a search warrant which clearly does not pass constitutional
   muster, as it was not supported by a sworn (or affirmed) statement of facts showing
   probable cause.

19. Petitioner's home was invaded by a heavily-armed SWAT team who shot all the windows
   and fired a number of gaseous weapons to release toxic gasses that caused significant
   and undue destruction and harm and danger of harm, not only to Petitioner but to his
   neighbors.

20. None of this violence was necessary. To date, nobody has been able to show any reason
   for it. Both state and federal constitutions prohibit such unjustified intrusion on
   Petitioner's rights.

21. The invaders seized a variety of Petitioner's effects not identified on any search warrant,
   as is also explicitly forbidden by state and federal constitutions.

22. Petitioner was incarcerated on or about 7/3/2024. No judicial commitment order exists.
   Such rights violations are utterly repugnant to both state and federal constitutions.

23. Straley is holding Petitioner to answer for a criminal offense arising after-the-fact, based
    on the patently-inadmissible    evidence, if any, of an unconstitutional   "fishing expedition";



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   prior to this, Straley had no sworn statements of fact in support of the issuance of a search
   warrant.

24. Straley issued a search warrant without particularity, to simply invade Petitioner’s home
   and seize anything that might be later construed as evidence to some as-yet-unknown
   crime.

25. Straley is apparently attempting to conflate Petitioner's unlawful incarceration with the
   patently-inadmissible "fruit of the poisoned tree", evidence obtained during an illegal
   raid

26. No legal support has been proffered to Petitioner for this seemingly-nonsensical
   deprivation of liberty which our constitutions guarantee cannot happen absent the due
   process of law.

27. Straley appears to be intent on presiding over his own imagined criminal cause of action
   against Petitioner, absent any accuser, based on .

28. Straley is now tampering with the official court record by causing the court clerk to refuse
   to allow the public to see the public records and court records that are exculpatorTY to
   Petitioner and damning to Straley, in that they could confirm the lawlessness of StraleY's
   arbitrary and capricious actions against Petitioner. The longer Straley prevents access to
   the public, the more suspicious documents are mysteriously appearing as retroactive
   support for his crimes.
       1. First came the issuance of a defective search warrant, which had neither the
           lawfully-requisite support nor the lawfully-requisite particularitY and specificitY-
       2. Multiple people went physically to inspect the warrant after its execution, and all
          were denied.

       3. After multiple people were turned away empty-handed, suddenly a new
           document mysteriously appeared in the record, dated as if filed at the same time
           as the warrant it supports (or purports to support) . But once again, we the people
           were denied access, not allowed to see it.
       4. Now there are two new documents that mysteriously appeared: one being an
           email allegedly authorizing something, and the other being an inventorY/return
           document. And now, the whole case is marked as '’SEALED"J even though
           evidently nobody has moved the court to do so, and there has been no hearing on


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                such a motion, if any, as to whether or not to seal any particular public records,
                for good cause [not] shown.

   CONSTITUTIONAL AND CIVIL RIGHTS VIOLATIONS BY STATE COURTS

   29. Federal and State Constitutions require that criminal prosecutions conform to prevailing
      notions of fundamental fairness and that criminal defendants be given a meaningful
      opportunity to present a complete defense. State v. Wittenbarger, 124 Wn. 2d 467 , 474–75 , 880
      P.2d 517 (1994).

   30. Mr. Benshoof #as been and continues ra 6e denied not only meaningful opportunity to present
      a complete defense in the malicious criminal prosecution and persecution brought against Mr.

      Benshoof, it is a FACT that Mr. Benshoof has been denied the most essential, elemental and
      basic resources to even attempt to present defense: access to pen, paper, computer, internet,
       email, and majority of the discovery.

   31. Mr. Benshoof &as been and continues to Be denied all meaningful opportunity to file into any
       of his cases in state and federal courts in Violation of Seventh Amendment of US Constitution
       and Due Process under Fourteenth Amendment

   WHAT IS A PROPER APPLICATION OF YOUNGER ABSTENTION?

32. The answer is spelled out in SprInt Commc'ns, Inc. v. Jacobs, 571 U.S. 69, 134 S. Ct. 584,
   187 L. Ed. 2d 505 (2013). The Supreme Court, Justice GINSBURG delivered the opinion of
   the Court.

    “ This case involves two proceedings, one pending in state court, the other in federal court."2

    “Invoking Younger v. Harris, 401 U.S. 37, 91 s.ct. 746, 27 L.Ed.2d 669 (1971), the U.S. District
   Court for the Southern District of Iowa abstained from adjudicating Sprint's complaint in
   deference to the parallel state-court proceeding, and the Court ofAppealsfor the Eighth Circuit

   affirmed the District Court's abstention decision.”

         “We reverse the judgment of the Court of Appeals. In the main, federal courts are obliged
   to decide cases within the scope offederal jurisdiction. Abstention is not in order simpIY because
   a pending state-court proceeding involves the same subject matter. New Orleans Public SewiceF

   Inc. u Council of City of New Orleans, 491 U.S. 350, 373, 109 S.Ct. 2506, 105 L.Ed.2d 298 (1989)




   2 Sprint Cowrmc’ns, Inc. N. Jacobs, 571 U.S. 69, 72, 134 S. Ct. 584, 588, 187 L. Ed- 2d 505 (2013)

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(NOPSI ) (“[T]here is no doctrine that ._ pendency of state judicial proceedings excludes

the federal courts.”)."

      "We have cautioned, however, that federal courts ordinarily should entertain and
resolve on the merits an action within the scope of a jurisdictional grant, and should not
“refus[e] to decide a case in deference to the States:' NOPSI, 491 U.S, at 368, 109 S.Ct. 2506,

     “Circumstances fitting within the Younger doctrine, we have stressed, are
“exceptional”; they include ., .“state criminal prosecutions,” “ civil enforcement proceedings,
and “civil proceedings involving certain orders that are uniquely in furtherance of the state
courts' ability to perform their judicial functions.” Id„ at 367-368, 109 S.Ct. 2506.”
    “Because this case presents none of the circumstances the Court has ranked as
“exceptional,” the general rule governs: “[T]he pendency of an action in [a] state court is no
bar to proceedings concerning the same matter in the Federal court having jurisdiction.”
Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 817, 96 S.Ct. 1236, 47

L.Ed.2d 483 (1976) (quoting McClellan v. Carland, 217 U.S. 268, 282, 30 S.Ct. 501, 54 L.Ed.
762 (1910)).” “

      ''yurisdiction existing, this Court has cautioned, a federal court's “obligation” to
hear and decide a case is “virtually     unflagging.”     Colorado River Water Conservation Dist. v.
United States, 424 U.S. 800, 817, 96 S.Ct. 1236, 47 L.Ed.2d 483 (1976). Parallel state-court
proceedings do not detract from that obligation.
       “The plaintiff in younger sought federal-court adjudication of the constitutionality of
the California Criminal Syndicalism Act. Requesting an injunction against the Act's
enforcement, the federal-court plaintiff was at the time the defendant in a pending state
criminal   prosecution    under   the Act. In those     circumstances,   we saidJ

 'hould decline
invaIId state statute. See 401 U.S., at 53–54, 91 S.Ct. 746. Abstention was in orderJ we
explained, under “the basic doctrine of equity jurisprudence that courts of equity should
not act
remedy at law and will not suffer irreparably injury if denied equitable relief” Id„ at 43-
44/ q1 S.Ct. 746. “[R]estraining equity jurisdiction within narrow limits," the Court observed,
would “prevent erosion of the role of the jury and avoid a duplication of legal proceedings and

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   legal sanctions.” Id„ at 44, 91 S.Ct. 746. We explained as well that this doctrine was “reinforced”
   by the notion of “ 'comity; that is, a proper respect for state functions.” Ibid. Sprint Commc'ns,
   ln' " Jacobs, 571 U.S. 69, 77, 134 S. Ct. 584, 590-91, 187 L. £d. 2d 505 (20r3)
       “ Divorced from   their quasi-criminal context, the three Middlesex conditions would extend

   Younger to virtualIY all parallel state and federal proceedings, at least where a party could
   identifY a plausibly important state interest. See Tr. of Oral Arg. 35–36. That result is
   irreconcilable with our dominant instruction that, even in the presence of parallel state
   proceedings, abstention from the exercise offederal jurisdiction is the “exception, not the rule."
   Hawaii Housing Authority v. Midkiff, 467 U.S. 229, 236, 104 S.Ct. 2321, 81 L.Ed.2d 186 (1984)
   (quoting Colorado River, 424 U.S., at 813, 96 S.Ct. 1236). In short, to guide otherfederal courts,
   we today clarify and affirm that Younger extends to the three “exceptional circumstances”
   identified in NOPSI, but no further:’ Sprint Commc'ns, Inc. v. yacobs, 571 U.S. 69, 81-82, 134
   S. Ct. 584, 593-94, 187 L. Ed. 2d 505 (2013)


   PRETRIAL DETENTION

33. "[A] federal court's 'obligation’ to hear and decide a case is 'virtually unflagging.' " Sprint

   Commc’ns, Inc. v. jacobs, 571    U.S. 69.     77, 134      S.Ct. 584, 187   L.Ed.2d 505 (2013)
   (quoting Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817, 96 S.Ct.
   1236, 47 L.Ed.2d 483 (1976)). However, federal courts must exercise caution when the relief
   sought impacts state court criminal proceedings. Younger abstention, "an extraordinary and
   narrow exception to [this] general rule" of hearing cases, reflects this concern. Cook
   v. Harding , 879 F.3d 1035, 1038 (9th Cir. 2018) (citation omitted).

   Betschart v. Oregon, 103 F.4th 607, 616-17 (9th Cir. 2024)

34. “("[P]retrial rights, like those protecting unlawful pretrial detention, 'cannot be
   vindicated post-trial.' " (quoting Page , 932 F.3d at 905)); Lopez-Valenzuela v. Arpaio, 770
   E:3d 772, 781 (9th Cir. 2014) (" IT]he costs to the arrestee of pretrial detention are

   profound. 'Pretrial confinement may imperil the suspect's job, interrupt his source of
   income, and impair his family relationships.' " (quoting Gerstein v. Pugh, 420 U.S. 103
   114, 95 S.Ct. 854, 43 L.Ed.2d 54 (1975))). “ Betschart v. Oregon, 103 F.4th 607, 618 (9th
   Cir. 2024)


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35. In the criminal case against Petitioner by the state defendants, falls squarely into the
   category of'. “we said, the federal court should decline to enjoin the prosecution, absent
   bad faith, harassment, or a patently invaIId state statute. See 401 U.S., at 53-54, 91 S.Ct.
   746”

36. State defendants ''acting in bad faith" with " harassment” in clear violation of Petitioner’s
   First Amendment, Fourth Amendment, Eight Amendment , Fourteenth Amendment rights,
   establishing existing federal jurisdiction, therefore "this Court has cautioned, a federal
   court's “obligation” to hear and decide a case is “virtually unflagging.”
37. Therefore , under the Younger doctrIne, federal court has an virtually unBagging obligation
   to grant habeas petition.
38. The abstention doctrine is properly applied only when each of the elements of the doctrine's
   requirements is satisfied. AmerisourceBergen Corp. v. Roden, 495 E:3d 11431 1148 (9th Cir.
   2007)
39. The requirement - that the state proceeding implicate an important state interest "the State’s
   interests in the [ongoing] proceeding are so important that exercise of the federal judicial
   power      would      disregard   the       comity   between    the   States and     the   National
    Government." Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 11 (1987).

40. "The importance of the [state’s] interest is measured considering its significance broadlX
    rather than by focusing on the state's interest in the resolution of an individual case.”
   AmerisourceBergen, 495 R:3d at 1150
41. Abstention   doctrine   is inappropriate     for cases such as the one presented   here for habeasp

    quoting Page v. King , 932 F.3d 898 (9th Cir. 2019), which held that a “complete loss of
    liberty for the time of pretrial detention is 'irretrievable’ regardless of the outcome at
    trial.” Id. at 904


    “DANGER OF IRREPARABLE LOSS IS BOTH GREAT AND IMMEDIATE”

42. “ Ex parte Youngy 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714, and following cases have established

    the doctrine that, when absolutely necessary for protection of constitutional rights/ courts of
    the United States have power to enjoin state officers from instituting criminal actions. But this
    may not be done, except under extraordinary circumstances, where the danger of
    irreparable loss is both great and immediate” Younger V- Harrisp 401 U•S' 37/ 451 91 S• Ct'
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43. 746, 751, 27 L. Ed. 2d 669 (1971)


   CONCLUSION

   44. This Honorable Court is authorized to issue this writ, and has an administrative duty to
      do so
          “Writs of habeas corpus may be granted by the supreme court, the court of
          appeals, or superior court, or by any judge of such courts, and upon
          application the writ shall be granted without delay.” Wash. Rev. Code §
          7.36.040

   45. It would be appropriate, right and just for this court or judge to also order the return of
      all of the items taken from Petitioner's home by the invading SWAT team, and to order
      destruction of all electronic copies or forensic images made.
          “The court or judge may make any temporary orders in the cause or disposition
          of the party during the progress of the proceedings that justice may require. The
          custody of any party restrained may be changed from one person to another, by
          order of the court or judge.” Wash. Rev. Code § 7.36.220

   46. Applicant notes that if such an order is not issued, Petitioner, even with his liberty
      restored, would still suffer further undue harm by the loss of his property, including
      computer(s), phone(s), and external drive(s). Serious and extreme privacy concerns are
      clearly implicated.
   47. This Honorable Court should promptly issue "The Great Writ" (of habeas corpus) to
      Straley.
   48. Petitioner respectfully requests that a courtesy copy of said writ be sent to Petitioner as
      well


   JUDGES OF WASHINGTON TO RESPECT MY INHERENT AND CONSTITUTIONALLY-
   PROTECTED RIGHTS

   49. 1, KURT ALDEN BENSHOOF, need for the judges of Washington to respect my inherent and
      constitutionally-protected rights, so for this purpose I have declared my intent that URVE
      MAGGITTI       and TATE D. PROWS, have the general authority to file Petitions for Writs of
      Habeas Corpus, Amicus Briefs, and Next Friend Petitions on my behalf into all of my legal




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50. actions3; therefore, I have designate URVE MAGGITTI and TATE D. PROWS as a “next
   friend” of mine, and as one of my "assistance of counsel"4 5. See attached EXHIBIT B and C.

ATTACHED DOCUMENTS
      1. ORDER TO SHOW CAUSE, see Exhibit A
      2. AFFIDAVIT- TATE D. PROWS, see Exhibit B
      3. AFFIDAVIT- URVE MAGGITTI , see Exhibit C

RESPECTFULLY PRESENTED,




                                  Kurt Benshoof, Plaintiff pro se
                                  1716 N 128th Street
                                  Seattle, WA 98133
                                  King County Correctional Facility Seattle
                                  B/A 2024-008067, UCN# 10518097
                                  500 Fifth Ave., Seattle, WA 98104
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The foregoing statements of fact were typed up by the undersigned, upon Mr- Kurt
Benshoof’s request and to the best of the undersigned’s understanding.6


Signature
                          .GGITTI /
                                             Date:   aAa/e               Za Zy/




3 Next friend standing allows a third party to petition for habeas corpus on behalf of the real
party in interest: the detainee. Whitmore v. Arkansas, 495 aS 149, 162 (1990) (“Most
Frequently/ next friends appear in court on behalf of detained prisoners who are unable,
usually because of mental incompetence or inaccessibility, to seek relief themselves.”)- Scott
Harman-Heath, Unnamed & Uncharged: Next Friend Standing and the Anonymous Detainee
11 Harv. Nat'l Sec. J. 420, 454 (2020)
4 Faretta z California, 422 U.S. 806. 812–13, 95 S. Ct. 2525, 2530, 45 L. Ed. 2d 562 (1975
5 “The Judiciary Act; September 24, 1789, 1 Stat. 73. An Act to Establish the Judicial Courts
of the United States.” 'APPROVED , September 24, 1789.”
https://avalon.law.yale.edu/18th century/judiciary act.asp
6see Faretta v. California and Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92

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     Case 2:24-cv-01110-JNW-SKV Document 20 Filed 10/12/24 Page 14 of 28



                                CERTIFICATE OF SERVICE


Tate David Prows
225 W Chestnut St
Oxford OH 33541
(5 13)-460-2078



Kurt Benshoof
kurtbenshoofl@gmail.com


Uwe Maggitti, “next friend ’ and "assistance of counsel" 7 to Mr. Kurt Benshoof under as per
Judiciary Act of 1789, 1 Stat. 73, 92. urve.maggitti(a)gmail.com




7 Faretta v California, 422 U.S. 806, 812–13, 95 S. Ct. 2525, 2530, 45 L. Ed. 2d 562 (1975)

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 EXHIBIT A
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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8    KURT BENSHOOF,

 9                                   Petitioner,         I   Case No. C24-1 110-JNW-SKV

10            V.
                                                             ORDER TO SHOW CAUSE
11    WARDEN,

12                                   Respondent.

13


14          This is a federal habeas action proceeding under 28 U.S.C. § 2241. Petitioner Kurt

15   Benshoof is currently confined at the King County Regional Justice Center in Kent, Washington,

16   where he is awaiting trial on charges filed against him in both King County Superior Court and

17   Seattle Municipal Court. The original petition in this matter was filed in the United States Court

18   of Appeals for the Ninth Circuit by “next friend” Tate David Prows as a petition under 28 U.S.C.

19   § 2254. Dkt. 1. The Ninth Circuit construed the petition as one filed under § 2241 and

20   transferred the petition to this Court. Dkt. 1-1.

21          On August 6, 2024, before any action had been taken on the transferred petition,

22   Benshoof filed a § 2241 petition under his own signature. Dkt. 7, Most recently, the Court

23   received from Benshoof an affidavit and memorandum in support of his § 2241 petition, again



     ORDER TO SHOW CAUSE - 1
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 1   filed under his own signature. Dkt. 12. Petitioner’s recently filed petition is properly construed

 2   as an amended petition that supersedes the original petition filed by Petitioner’s “next friend,”

 3   Mr. Prows. Although Benshoof s amended petition is not a model of clarity, he does make clear

 4   that he is seeking to challenge the lawfulness of his pretrial detention, and the Court can discern

 5   at least three grounds for relief therein: (1) the simultaneous prosecutions in King County

 6   Superior Court and Seattle Municipal Court violate Petitioner’s rights under the Double Jeopardy

 7   Clause; (2) the amount of bail imposed by the two courts is excessive; and (3) a search warrant

 8   authorized by the King County Superior Court and executed by the Seattle Police Department

 9   was invalid and violated Petitioner’s Fourth Amendment rights. See Dkt. 7.

10           These claims all relate to Petitioner’s ongoing state court criminal proceedings.

11   Generally, the federal courts will not intervene in a pending state court criminal proceeding

12   absent extraordinary circumstances where the danger of irreparable harm is both great and

13   immediate. See Younger v. Harris , 401 U.S. 37 (1971). Younger requires a federal court to

14   abstain from interference with pending state judicial proceedings when: “(1) there is 'an ongoing

15   state judicial proceeding’; (2) the proceeding ' implicate[s] important state interests’; (3) there is

16   'an adequate opportunity in the state proceedings to raise constitutional challenges’; and (4) the

17   requested relief 'seek[s] to enjoin’ or has 'the practical effect ofenjoining’ the ongoing state

18   ju,hci,1 pr,ceedi„g.” ,4„„,1,    „. A„„„„y   , 882 F.3d 763, 765 (9th Cir. 2018) (quoting

19   ReadyLink Healthcare , inc. v. State Comp. Ins. Fund, 754 F.3d 754, 758 (9th Cir. 2014)).

20           It appears that the Younger criteria are satisfied here. First, Petitioner is a pre-trial

21   detainee with ongoing state proceedings. Second, as these proceedings involve a criminal

22   prosecution, they implicate important state interests. See Kelly y. Robinson, 479 U.S. 36, 49,

23   (1986); Younger, 401 U.S. at 43-44. Third, Petitioner has failed to allege facts showing he has



     ORDER TO SHOW CAUSE - 2
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 1   been denied an adequate opportunity to address the alleged constitutional violations in the state

2    court proceedings. Fourth, Petitioner appears to seek release from custody based on the alleged

3    violation of his rights. If this Court were to conclude that Petitioner was entitled to such relief,

4    this would have the practical effect of enjoining Petitioner’s ongoing state court proceedings.

5    Accordingly, Younger abstention appears to apply in this case, and Petitioner must therefore

6    show cause why this federal habeas action is not subject to dismissal on abstention grounds.

7           Even if Petitioner can demonstrate that his claims fall within an exception to the Younger

 8   abstention doctrine, such a showing would not, by itself, entitle him to proceed with this federal

9    habeas action. “[A] state prisoner must normally exhaust available state judicial remedies before

10   a federal court will entertain his petition for habeas corpus.” Picard v. Connor, 404 U.S. 270,

11   275 (1971). Petitioner’s claims will be considered exhausted only after “the state courts [have

12   been afforded] a meaningful opportunity to consider allegations of legal error without

13   interference from the federal judiciary.” Vasquez u Hillery , 474 U.S. 254, 257 (1986). “[S]tate

14   prisoners must give the state courts one full opportunity to resolve any constitutional issues bY

15   invoking one complete round of the State’s established appellate review.” O’Sullivan v.

16   Boerckel, 526 U.S. 838, 845 (1999).

17           Although there is no exhaustion requirement mandated by 28 U.S.C. § 2241 (c)(3), the

18   Ninth Circuit Court of Appeals has held exhaustion is necessary as a matter of comitY unless

19   special circumstances warrant federal intervention prior to a state criminal trial. Carden v.

20   Montana, 626 F.2d 82, 83-84 (9th Cir. 1980); see Younger, 401 U.S. 37. Petitioner fails to show

21   state court remedies were exhausted by presenting federal constitutional or statutorY claims to

22   the Washington state trial and appellate courts in the ongoing criminal proceedings against him-

23   Petitioner has also not shown special circumstances warrant federal intervention in this case.



     ORDER TO SHOW CAUSE - 3
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 1   Therefore, Petitioner must show cause why this case should not be dismissed for failure to

 2   exhaust state remedies

 3          Finally, with respect to the attempt by Tate David Prows to pursue this action on

 4   Petitioner’s behalf, Mr. Prows does not demonstrate that he satisfies the requirements for doing

 5   so. The federal habeas statute provides that the “[a]pplication   for a writ of habeas corpus shall

 6   be in writing signed and verified by the person for whose relief it is intended or by someone

 7   acting in his behalf ” 28 U.S.C. § 2242. Federal courts recognize that under appropriate

 8   circumstances, habeas petitions can be brought by third parties, such as family members or

 9   agents, on behalf of a prisoner – this is known as next-friend standing. Whitmore v. Arkansas ,

10   495 U.S. 149, 161–64 (1990). The prerequisites for “next friend” standing in habeas proceedings

11   are: (1) that the “next friend” provide an adequate explanation – such as inaccessability, mental

12   incompetence or other disability – as to why the real party in interest cannot appear on his own

13   behalf to prosecute the action; and (2) that the “next friend” must be truly dedicated to the best

14   interests of the person on whose behalf he seeks to litigate. See id.

15          Mr. Prows represented to the Court in the original petition that he filed the petition on

16   Petitioner’s behalf because Petitioner had been denied pen and paper while in King County

17   custody, which rendered him unable to prepare a petition for writ of habeas corpus on his own.

18   Petitioner’s recent submission of his amended petition suggests that he is now able to appear on

19   his own behalf and prosecute this action. The Court notes as well that absent from the original

20   petition are facts from which this Court could reasonably conclude that Mr. Prows has any

21   significant relationship with Benshoof or that he is truly dedicated to Benshoof s best interests.

22   As the record does not demonstrate that Mr. Prows satisfies the prerequisites for “next friend”

23   standing, Petitioner will be required to litigate this action on his own behalf




     ORDER TO SHOW CAUSE - 4
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 1          Based on the foregoing, this Court hereby ORDERS as follows:

2           (1)     Petitioner shall show cause not later than thirty (30) days from the date on which

 3   this Order is signed why this action should not be dismissed. If Petitioner believes he can

4    adequately demonstrate that this action should not be dismissed, he shall file with any response

 5   to this Order to Show Cause a second amended petition, on the Court’s standard form, which

 6   identifies a proper Respondent and which clearly sets forth the constitutional claims upon which

 7   he is seeking relief. Failure to timely respond to this Order will result in a recommendation that

 8   this action be dismissed.

 9          (2)     The Clerk is directed to send to Petitioner a copy of this Order and the Court’s

10   standard § 2241 habeas petition form. The Clerk is further directed to send a copy of this Order

11   to Mr. Prows and to the Honorable Jamal N. Whitehead.

12          DATED this 10th day of September, 2024.

13
                                                          aabvaM®UML
14                                                        S. KATE VAUGHAN
                                                          United States Magistrate Judge
15


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     ORDER TO SHOW CAUSE - 5
Case 2:24-cv-01110-JNW-SKV Document 20 Filed 10/12/24 Page 21 of 28




 EXHIBIT B
     Case 2:24-cv-01110-JNW-SKV Document 20 Filed 10/12/24 Page 22 of 28



                                                   AFEIDAVIT

i ' I, KURT ALDEN BENSHOOF, need for the judges of Washington to respeot my inhermt and
conshtutionalIY'-pn)Med rights, so for this purpose I deolare ray intelit that TATE D. PROWS
shall have the general audnriV to 616 Petitions for Writs of Habeas Corpus, Amicus Briefs, and
Next Friend Petitions on my behalf into all of my legal action$1; therefore, 1 henby designate
TATE D. PROWS as a “next 6iend” of mine, and as one of my "assistance of counsel".


2. The United States Supreme Court has acknowledged an estabH£hed historical fact:

          "Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92, enacted by the First Congress and
          signed by President Washington one day before the Sixth AmendrnM #813 was proposed,

         provided that 'in all the courts of the United States, the parties may plead and !nanage their
          own causes personally or by the assistance of such counsel . . .. ’The right is currently
          codi6ed in 28 U.S.C. s 1654.”2



3. Thai Court qUOtEd Bum Section 35 of the Judieiary Act of 1789, i Stat. 73, 92:

          "SEC. 35. And be it fbdher enacted, That in all courts of the United StaIBS, the parties
          may plead and maaage their own caws® personally or by assistance of such counsel
          or attorneys at law” 3


4. Judiciary Act of 1789 was passed before 1791 rati6cadon of the Sixth Amendment in the Bill
of Rights. The draftnrs of the Sixth AInendrnent deliberately ranoved the words attorneYS af laW’T
and substantidjy mended its language to read:“ rjght M have theAssistanee ojCOUHSeL”


5. Federal and State Constitutions require that odminal prosecutions oonfonntoplevailing                  :notions

of 6rndaInentzl faimess and that defendants be given a IneaningRa oppol$mW to pesent a
complete defense. State v. Wittenbarger, 124 Wn.2d 467, 474–75, 880 P.2d 517 (1994)


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the detainee.                                                                             next
               behalf of detained                                        because of mental
                   to seek relief themselves

                                                                                   2d 562
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States.” “APPROVED , Sep@mber 24, 1789,

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     Case 2:24-cv-01110-JNW-SKV Document 20 Filed 10/12/24 Page 23 of 28



6. 1have been daied not only wteaningful opportunity to present a complete deybase in this instant
Inattel; ifary, which I maintain is &ivolous and malicious uitninal prosecution and puseoution

without cause, depriving me of my inherent and constitutionally-protected rights to due process. I
have been denied the most e$sentia1, elemental and basic resources to even attempt to fonnulate a
defense: access to pen, paper, law/legal resources, computer, htanet,      ernail, and discovery.4




              MRaBIXBiisR®n




                                      AFFIDAVIT

The foregoing statmMs       of fact were typed up by the undersi@ed, upon Mr. BaBhoof s tequest
and to the Inst of tIle undersigned’ g understanding, to be signed by Mr. BenshoofhhDse:A 5




                                      WI




 4 Benshoof was provided a few photocopies of incident reports, Rom the Seattle !ojice       Dept- which
 responded to Owen’s and Lerman's calls, and police reports of three visits to Ben shooPs home'
 ; Seea            hrM and Section 35 of the    W£W©7WaWa
                                               Page 2 of 3
    Case 2:24-cv-01110-JNW-SKV Document 20 Filed 10/12/24 Page 24 of 28


                                      ACIO{OWLEDGADENT
                                          AFFEDAVIT
                                          (Veri6catioa)

STATE OF PENNSYLVANIA )
COUNTY OF C}DESTER )

   I, Uwe Maggitti, the undersigned A:nant hwetr>, do hereby declare under penalties of peduo
under the laws of the Commonwealth of Pennsylvania and the United States of Amedca, that the

foregoing accounting of facts are true and correct to the b6st of my ounent knowledge and belief
   I am over the age of 18 years of age, am a resident of the Commonwealth of Pennsylvania,
have personal knowledge of the matters of this afRdavit, and am capable of making such
affidavit.

              Pursuant to 28 U.S. Code § 1746 (1) 1 declare under penalty of pajwy under the

laws of the United States of America that the foregoing is true and collect.




Notary as JURAT CERTIFICATE
State of Pennsylvania
BEFORE ME penonaliy@&             Uwe Maggkti who, being bY me 6rst duIY swonl elmuta}
the foregoing in my presence and stated to me that the facts alleged therein ale &ue and cotnot
according to her own personal knowledge.




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                      Kerrick Sullivan, Notary Public
                             Delaware County
                 My commission expires October 12, 2026
                      Commission number 1283631
                 v                            if Notarles




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 EXHIBIT C
       Case 2:24-cv-01110-JNW-SKV Document 20 Filed 10/12/24 Page 26 of 28



                                              AFFIDAVIT

1. L KURT ALDEN BENgHOOF, need for the judges of Washington to respect my inhuent and
oonstitutk)nalIY-pmhoted tights, so for this purpose I declare my intent that URVE MAGaiTFI
shall have the general authority to BIo Petitions for Writs of Habeas Corpus, Amicus Bdefs, and
Next Friend Petitions on my behalf into all of my legal aodonsl; therefore, I hweby designate
URVE MAGGITII asa“nexttiend”              of mine, and as one of my "assistance of counsel".


2. The United States Supreme Court has acknowledged an established historical fact:

          “Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92, enacted by the First Congress and
          signed by President Washington one day before the Sixth Amendment +813 was proposed

          provided that 'in all the courts of the United States, the pMs     may plead and manage their
          own caus® personally or by the assistaace of such counsel . . „ ’The right is currentIY
          codiBed in 28 U.S.C. s 1654.”2



3. That Court quoted from Section 35 of the Judiciary Act of 1789, 1 Stat 73, 92:
          “SEC. 35. And be it Ru:ther enacted, That in all courts of the United States, the parties
          may plead and maaage their own causes personal& or by assistance of such counsel
          or attorngys at law” 3


4. Judiciary Act of 1789 was passed before 1791 rati£cadon of the Sixth Amendment in the Bill

of Rights. The draanrs of the Sixth AInendalent deliberately removed the words attorttqYS af law3
and substantially amended its language to read:“ right b have the Assist11nee Di (:o'1-lseP


5. Federal and State Constitutions require that criminal prosecutions confonntopnvailing            notions
of Rurdarnmtal faimess and that defendants be given a meaningful opportwitY to present a

complete defense.


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 States.” u                          249 1789.”                law.val

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6. 1 have been denied not only meaningful opporturr#p to present a complete defense in this instalt

matter, if any, which I maintain is Bivolous and malicious criminal prosecution and persecution
without %use, depriving me of my inhermt and constitutionally-proteeted rights to due process. 1
have been denied the mogt egsential, elemental and basic re$ouroes to even attempt to formulate a

defense: access to pen, paper, law/legal resources, oomputer, internet, email, and discoveW.4




              ML




                                       AFFIDAVIT

The foregoing statemmt$ of fact wwe typed UP by the undersi MP upon ME Beng:hoof S fecW
and to the best of the undergigned’g understanding, to be sjgned bY Mr- Benslu30fhiwBel£     s




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 4 Benshoof wu provided a few photocopies of incident reports, Roin the S@ftle JojhIe Dept' which

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                                         ACKNOWIIEDGMENT
                                                  AFFIDAVIT
                                                  (VeH6cation)

STATE OF PnqNSYLVANiA )
COUNTY OF CHESTER )

   I, Uwe Maggitti, the undersigned AfBant hereto, do hereby declare undw penalties of pajwY
under the laws of the Commonwealth of Pennsylvania and the United States of America, that the

foregoing accounting of facts are true and correct to the best of my ounent knowledge and belief
   I am over the age of 18 years of age, am a resident of the Commonwealth of Pennsylvania,
have personal knowledge of the matters of this affidavit, and am capable of making sueh
af6davit.

              Pursuant to 28 U.S. Code § 1746 (1) 1 declare under penalty of PqjwY under the

laws of the United States ofAmaica that the foregoing is true and count.




Signed



Notary as JURAT CERTIFICATE
State ofPeanWaM                                                                               .
BEFORE ME personali+-@;;a tiTe:Maggha who, being bY me $1st duIY swon:b efwutal
the fongoing in my presence and stated to me that the facts alleged therein are &ue and collect
according to her own personal knowledge.




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                           th of PennsylvanIa • Notary Seal
                     KardckSutlivan, Notary Public
                          Delaware County
                My commIssIon expires October 12, 2026
                     Commission number 1283631
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